
PER CURIAM.
The appellant, the mother of G.L.O., Jr., challenges the trial court’s order adjudicating her son dependent. She raises six issues, one of which requires reversal at this time. This issue involves the trial court’s failure to advise the mother of her right to counsel at any point during the dependency proceeding. Since she was not apprised of her right to counsel, the order adjudicating the child dependent and awarding custody must be reversed and remanded. In Interest of D.M.S., 528 So.2d 505 (Fla. 2d DCA 1988).
Reversed and remanded for proceedings consistent with this opinion.
CAMPBELL, A.C.J., and LEHAN and ALTENBERND, JJ., concur.
